81 F.3d 1147
    317 U.S.App.D.C. 191
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Tina FOUSHEE, Appellant,v.PRUDENTIAL INSURANCE COMPANY OF AMERICA, Appellee.
    No. 94-7205.
    United States Court of Appeals, District of Columbia Circuit.
    March 25, 1996.
    
      Before:  GINSBURG, RANDOLPH, and TATEL, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs of counsel.   The court is satisfied, after reviewing the parties' briefs, that appropriate disposition of the case does not call for further opinion.   See D.C.Cir.Rule 36(b).
    
    
      2
      It is ORDERED and ADJUDGED that the order and judgment from which this appeal has been taken be AFFIRMED substantially for the reasons stated in the district court's memorandum opinion entered on September 15, 1994.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 41(a)(2).   This instruction to the Clerk is without prejudice to the right of any party at any time to move for expedited issuance of the mandate for good cause shown.
    
    